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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:espinosavpeopleno24sc278november12,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;Espinosa&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;People&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC278&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-court"&gt;&lt;b class="ldml-bold"&gt;Supreme Court of Colorado&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 12, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="89" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="89" data-sentence-id="105" class="ldml-sentence"&gt;Held
 pending &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_105" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;23SC328&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;Ward v. &lt;span class="ldml-entity"&gt;People&lt;/span&gt;&lt;/em&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_105" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;23SC381&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;em class="ldml-emphasis"&gt;McDonald v. &lt;span class="ldml-entity"&gt;People&lt;/span&gt;&lt;/em&gt;&lt;/span&gt;
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